SO ORDERED.

DONE and SIGNED November 4, 2022.




                                    ________________________________________
                                    JOHN S. HODGE
                                    UNITED STATES BANKRUPTCY JUDGE



                   UNITED STATES BANKRUPTCY COURT
                    WESTERN DISTRICT OF LOUISIANA
                         SHREVEPORT DIVISION


IN RE:                                 §           Case Number: 21-10421
                                       §
Lucien Harry Marioneaux, Jr.           §           Chapter 11
 Debtor                                §
                                       §

                                     Order

      Before the court is Debtor’s Emergency Motion for Stay Pending Appeal of

Order Granting Joint Motion to Approve Compromise, filed as docket no. 433.

      For the reasons set forth in the Memorandum Ruling,

      IT IS ORDERED that the motion is hereby DENIED.

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